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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                           No. 2:20-cr-17 JAM

                           Plaintiff,

       v.                                           Schedule for Disclosure of
                                                    Presentence Report and for Filing of
Jeff Carpoff,                                       Objections to the Presentence Report

                          Defendant.


                The Probation Officer and all parties shall adhere to this schedule
                            unless it is later modified by this Court.

  Date of Referral to Probation Officer:                      January 24, 2020
                                                              (Date of Plea or Verdict)

  Judgment and Sentencing Date:                               May 19, 2020 @ 9:15 A.M.
                                                              (At least 14 weeks after plea)

  Reply, or Statement of Non-Opposition:                      May 12, 2020
                                                              (1 week before sentencing)

  Motion for Correction of the Presentence Report Shall       May 5, 2020
  be Filed with the Court and Served on the Probation         (2 weeks before sentencing)
  Officer and Opposing Counsel no Later Than:

  The Pre-Sentence Report Shall be Filed with the             April 28, 2020
  Court and Disclosed to Counsel no Later Than:               (3 weeks before sentencing)

  Counsel’s Written Objections to the Presentence             April 21, 2020
  Report Shall be Delivered to the Probation Officer and      (4 weeks before sentencing)
  Opposing Counsel no Later Than:

  The Proposed Presentence Report Shall be Disclosed          April 7, 2020
  to Counsel no Later Than:                                   (6 weeks before sentencing)

COPIES OF THIS SCHEDULE SENT VIA CM/ECF TO:

(x)   AUSA
(x)   Defense Counsel
(x)   USPO

Dated: January 24, 2020                           By: /s/ Harry Vine_   _
                                                    Harry Vine, Courtroom Deputy
